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                                                                                 10                                   UNITED STATES DISTRICT COURT
                   Cleveland ♦ Columbus ♦ Denver ♦ Los Angeles ♦ San Francisco




                                                                                 11                                  EASTERN DISTRICT OF CALIFORNIA

                                                                                 12 JOANN MARTINELLI, individually and on               )   Case No. Case No. 2:15-cv-01733-MCE-DB
                                                                                      behalf of all others similarly situated,          )
                                                                                 13                                                     )   DEFENDANTS MCNEIL NUTRITIONALS,
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                                                                                                      Plaintiff,
                                                                                                                                        )   LLC AND JOHNSON & JOHNSON’S
                                                                                 14
                                                                                              v.                                        )   NOTICE OF MOTION AND MOTION TO
                                                                                 15                                                     )   EXCLUDE PLAINTIFF’S SURVEYS AND
                                                                                    JOHNSON & JOHNSON and McNEIL                        )   EXPERT TESTIMONY OF J. MICHAEL
                                                                                 16 NUTRITIONALS, LLC,                                  )   DENNIS, PH.D.
                                                                                                                                        )
                                                                                 17                   Defendants.                       )   Date:    December 14, 2017
                                                                                 18                                                     )   Time:    2:00 p.m.
                                                                                                                                        )   Judge:   Hon. Morrison C. England, Jr.
                                                                                 19                                                     )
                                                                                                                                        )   [Filed concurrently with Memorandum of Points
                                                                                 20                                                     )   and Authorities; Declaration of Amanda
                                                                                                                                        )   Villalobos; [Proposed] Order; Defendants’
                                                                                 21                                                     )   Opposition to Plaintiff’s Motion for Class
                                                                                 22                                                     )   Certification; Defendants’ Motion to Exclude
                                                                                                                                        )   Expert Testimony of Colin B. Weir; Notice of
                                                                                 23                                                     )   Request to Seal Documents]
                                                                                                                                        )
                                                                                 24                                                     )
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                                                                                         DEFENDANTS MCNEIL NUTRITIONAL, LLC AND JOHNSON & JOHNSON’S NOTICE OF MOTION TO EXCLUDE PLAINTIFF’S
                                                                                                             SURVEYS AND EXPERT TESTIMONY OF J. MICHAEL DENNIS, PH.D.
                                                                                      1299266.4
                                                                                             Case 2:15-cv-01733-MCE-DB Document 83 Filed 10/02/17 Page 2 of 26

                                                                                  1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                                  2           PLEASE TAKE NOTICE THAT on December 14, 2017 at 2:00 p.m., or as soon thereafter as

                                                                                  3 this matter may be heard by the above-entitled court located at 501 I Street, Suite 4-200, Sacramento,
                                                                                  4 California, 95814, Defendants McNeil Nutritionals, LLC and Johnson & Johnson will and hereby do
                                                                                  5 move this Court for an order excluding the surveys, expert declaration, and testimony of Plaintiff’s
                                                                                  6 retained expert Dr. J. Michael Dennis.
                                                                                  7           Defendants’ Motion to Exclude Plaintiff’s Surveys and Expert Testimony J. Michael Dennis,

                                                                                  8 Ph.D. is based upon this Notice, the accompanying Memorandum of Points and Authorities filed
                                                                                  9 concurrently herewith, the Declaration of Amanda Villalobos and exhibits attached thereto, Defendants’
                                                                                 10 Opposition Brief to Plaintiff’s Motion for Class Certification filed concurrently herewith, the Motion to
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                                                                                 11 Exclude Expert Testimony of Mr. Colin B. Weir, the Rebuttal Declaration of Dr. Bruce Isaacson, the
                                                                                 12 Rebuttal Declaration of Dr. Denise Martin, the Rebuttal Declaration of Dr. Scott D. Swain, any reply
                                                                                 13 memorandum, the pleadings and files in this action, and such other matters as may be presented at or
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                                                                                 14 before the hearing.
                                                                                 15
                                                                                 16
                                                                                 17 DATED: October 2, 2017                               TUCKER ELLIS LLP
                                                                                 18
                                                                                 19
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                                                                                  1                           MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                  2 I.        INTRODUCTION

                                                                                  3           In her Motion for Class Certification, Plaintiff JoAnn Martinelli relies almost exclusively on a

                                                                                  4 declaration prepared by one of her experts, Dr. J. Michael Dennis (the “Dennis Declaration”), to
                                                                                  5 establish a price premium for the “No Trans Fat” and “No Trans Fatty Acids” on the labels of Benecol
                                                                                  6 Spreads and Benecol Light Spread, which she alleges are false and misleading. Dr. Dennis’ opinions
                                                                                  7 are, in turn, based on surveys he conducted (the “Dennis Surveys”). The Dennis Surveys, however,
                                                                                  8 were not conducted in accordance with recognized and accepted scientific principles, and his opinions
                                                                                  9 based thereon are subject to exclusion under the standard articulated in Daubert v. Merrell Dow
                                                                                 10 Pharms., 509 U.S. 579, 589 (1993), for several reasons.
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                                                                                 11           As a preliminary matter, the Dennis Surveys should be ignored because they are neither relevant

                                                                                 12 to the issues to be decided on class certification nor probative of the opinions of putative class
                                                                                 13 members—California residents who purchased Benecol from January 1, 2008 to December 31, 2011.
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                                                                                 14 Not only do the Dennis Surveys canvas opinions of respondents who primarily reside outside of
                                                                                 15 California, but they also fail to account for whether the respondents purchased Benecol or some other
                                                                                 16 cholesterol-reducing spreads; includes respondents that purchased products outside the class period; and
                                                                                 17 only includes respondents over the age of 50. In addition, the Dennis Surveys fail to account for
                                                                                 18 consumer perceptions of trans fat, which have evolved significantly since the end of the putative class
                                                                                 19 period.1
                                                                                 20           The Dennis Surveys are also inadmissible because they do not reliably measure the materiality of

                                                                                 21 the trans fat label statements and fail to accurately calculate what premium, if any, is properly
                                                                                 22 attributable to these claims. Courts in this Circuit routinely reject similar price-premium damages
                                                                                 23 models where, as here, they fail to capture variables or attributes that may explain a price difference.
                                                                                 24
                                                                                 25
                                                                                 26 1 See, e.g., Reinsdorf v. Skechers U.S.A., 922 F. Supp. 2d 866, 878 (C.D. Cal. 2013) (excluding survey
                                                                                      that was not conducted “according to accepted scientific principles” because “there is no indication that
                                                                                 27 the survey population had any relationship to the relevant population of Sketchers consumers. . . . These
                                                                                      inadequacies speak not merle to the weight that should be accorded to the survey, but rather to the
                                                                                 28 fundamental reliability of Luntz’s approach.”).
                                                                                                                                          1
                                                                                      DEFENDANTS MCNEIL NUTRITIONAL, LLC AND JOHNSON & JOHNSON’S NOTICE OF MOTION TO EXCLUDE THE DECLARATION
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                                                                                  1            Finally, Dennis’ survey-based opinions should be excluded because they fail to meet recognized

                                                                                  2 and accepted standards for clear, precise and unbiased questions. Many of the questions were difficult
                                                                                  3 to answer as they contained hopelessly vague, undefined and confusing terms.
                                                                                  4            The numerous and extensive flaws in the Dennis Surveys and the expert testimony of Dennis that

                                                                                  5 flows from those Surveys are irreparable and command exclusion.2
                                                                                  6 II.        FACTUAL AND PROCEDURAL BACKGROUND

                                                                                  7            A.     Benecol Products.

                                                                                  8            Benecol Spread and Benecol Light Spread (collectively, “Benecol Spreads” or “Benecol”) were

                                                                                  9 butter/margarine substitutes sold by McNeil Nutritionals, LLC (“McNeil”) between 1999 and 2015.
                                                                                 10 Benecol contained plant stanol esters, patented ingredients proven to lower total cholesterol and low-
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                                                                                 11 density lipoprotein (“LDL”) cholesterol.
                                                                                 12            Benecol also contained a small amount of partially hydrogenated oils (“PHO”), as stated on their

                                                                                 13 labels in accordance with Food and Drug Administration (“FDA”) regulations. As Defendants have
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                                                                                 14 explained in greater detailed in their Opposition to Plaintiff’s Motion for Class Certification, Defendants
                                                                                 15 representated that Benecol contained “No Trans Fat” and “No Trans Fatty Acids” consistent with FDA
                                                                                 16 regulations that required Defendants to list the content of trans fat in Benecol as zero. See Defs’
                                                                                 17 Opposition at 1-2. The trans fat statements were removed from the labels by the end of 2011.
                                                                                 18            B.     Plaintiff’s Allegations.

                                                                                 19            Plaintiff, a California resident, alleges she purchased Benecol based on the allegedly false and

                                                                                 20 misleading statements that they contain “No Trans Fat” and “No Trans Fatty Acids,” and are generally
                                                                                 21 recognized as safe for human consumption. See First Amended Complaint (“FAC”) ¶¶ 3, 7, 12. She
                                                                                 22 fails, however, to allege which products she purchased, the dates of her purchases, or where she
                                                                                 23 purchased the products; nor does she identify the labels she purportedly relied upon in making her
                                                                                 24 decision to purchase Benecol instead of other products. Although she alleged in her Complaint claims
                                                                                 25 based on both a national class and on a California sub-class, this Court held in May 2017 that Plaintiff
                                                                                 26
                                                                                      2   Defendants file concurrently herewith a Motion to Exclude Expert Testimony of Mr. Colin B. Weir,
                                                                                 27 Plaintiff’s other expert proffered in support of her motion for class certification. Weir’s testimony is
                                                                                 28 based exclusively on the Dennis Declaration and Surveys and, for all of the reasons stated herein, should
                                                                                      also be excluded.
                                                                                                                                          2
                                                                                      DEFENDANTS MCNEIL NUTRITIONAL, LLC AND JOHNSON & JOHNSON’S NOTICE OF MOTION TO EXCLUDE THE DECLARATION
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                                                                                  1 could not pursue claims beyond those alleged on behalf of California consumers. See May 2017 Order,
                                                                                  2 ECF Doc. 78 at 10-11.
                                                                                  3           C.         The Process Employed in the Dennis Surveys.

                                                                                  4           According to the Dennis Declaration, the target for the Dennis Surveys were “U.S. adult

                                                                                  5 residents age 50 and over who had purchased a cholesterol-lowering spread in the past ten years…”. See
                                                                                  6 Declaration of J. Michael Dennis, Ph.D. in Support of Plaintiff’s Motion for Class Certification (“Dennis
                                                                                  7 Declaration”) at 6. Screening questions in the Dennis Surveys qualified prospective respondents, among
                                                                                  8 other criteria, based on the following:
                                                                                  9                 i.   conducting all or most of the grocery shopping for their household;

                                                                                 10               ii.    age 50 or older;
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                                                                                 11               iii.   having purchased “Butter or margarine substitute” for personal use within the past 10

                                                                                 12                      years;

                                                                                 13               iv.    having purchased “Spreads (from vegetable oil)” as “a substitute for butter or margarine”;
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                                                                                 14                v.    identifying that “Spreads (from vegetable oil)” normally come in a “Plastic Tub”;

                                                                                 15               vi.    having purchased vegetable oil spreads in the last 10 years that specifically claim “lower

                                                                                 16                      or reduce cholesterol,” “support healthy cholesterol levels,” and/or “helps maintain a

                                                                                 17                      healthy heart”; and

                                                                                 18           vii.       having made the first purchase of “this type of cholesterol lowering or healthy heart

                                                                                 19                      spreads” at any time other than “Never.”

                                                                                 20 See Id. at 43-50. After qualification, but before they were assigned to either the conjoint survey or the
                                                                                 21 consumer perceptions survey, respondents were shown the following instruction:
                                                                                 22
                                                                                                         This survey asks questions about what people like or do not like about
                                                                                 23                      spreads that specifically claim to lower cholesterol or support healthy
                                                                                                         levels of cholesterol.
                                                                                 24
                                                                                 25                      All these spreads are alternatives to regular butter or margarine.

                                                                                 26                      These spreads are different from other kinds of spreads that do not claim
                                                                                 27                      to lower or support healthy levels of cholesterol.

                                                                                 28 Id. at 50.
                                                                                                                                          3
                                                                                      DEFENDANTS MCNEIL NUTRITIONAL, LLC AND JOHNSON & JOHNSON’S NOTICE OF MOTION TO EXCLUDE THE DECLARATION
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                                                                                  1           Next, respondents were asked a question regarding their understanding of this instruction, and

                                                                                  2 whether they agreed to complete the survey on their own. Id. Qualified respondents were randomly
                                                                                  3 assigned to either the conjoint survey or consumer perceptions survey. Id. at 51.
                                                                                  4           The conjoint survey measured the effect of five product attributes relating to “cholesterol-

                                                                                  5 lowering spreads.” Each attribute had the following levels:
                                                                                  6
                                                                                  7                       Attribute                                         Levels
                                                                                          Size                                        8-ounce tub
                                                                                  8                                                   15-ounce tub
                                                                                  9       Vegetable Oil Percentage                    39% of the product
                                                                                 10                                                   55% of the product
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                                                                                 11       Supplemental Ingredient                     Plant Stanol Esters
                                                                                                                                      Plant Sterols
                                                                                 12
                                                                                          Product Descriptions on Front of Package    No Trans Fat
                                                                                 13                                                   No Trans Fatty Acids
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                                                                                 14                                                   Buttery Spread
                                                                                 15                                                   Light
                                                                                                                                      Light Spread
                                                                                 16                                                   Proven to Reduce Cholesterol
                                                                                 17                                                   Omega 3
                                                                                                                                      Supports Healthy Cholesterol Levels
                                                                                 18
                                                                                                                                      50% Less Calories than Butter
                                                                                 19                                                   Non-GMO
                                                                                 20       Price (not including tax or shipping)       For the 8-ounce tub, 7 prices from $2.50 to $5.50
                                                                                 21                                                   For the 15-ounce tub, 7 prices from $3.50 to $6.50

                                                                                 22 Id. at 56.
                                                                                 23           In the conjoint survey, after initial instructions, respondents were shown an image providing

                                                                                 24 either a Light or Regular version of “Nutrition Facts and Directions,” and were given additional
                                                                                 25 directions. Id. at 53. Respondents were told to assume that “… each spread has the same Nutrition
                                                                                 26 Facts and Directions,” and also to “Assume each spread is the same as the cholesterol-lowering spread
                                                                                 27 you usually buy in regards to taste, consistency and texture, and how it cooks.” Id.
                                                                                 28
                                                                                                                                          4
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                                                                                  1           In the main part of the conjoint survey, respondents completed 12 “choice tasks.” Id. at 14.

                                                                                  2 Each task involves selecting the combination of attributes and levels preferred among three different
                                                                                  3 combinations, or selecting “None of these.” Id. at 16-17.
                                                                                  4           Based on the conjoint survey, Dennis concluded that the premium solely attributable to the “No

                                                                                  5 Trans Fat” claim was 20.8% of the $4.80 price paid by consumers, or $1.00. Id. at 7. He also concluded
                                                                                  6 that the premium solely attributable to the “No Trans Fatty Acids” claim was 22.9% of the $4.80 price
                                                                                  7 paid by consumers, or $1.10. Id. at 24-25.
                                                                                  8           The consumer perceptions survey was administered to a group of respondents separate from

                                                                                  9 those who took the conjoint survey, and consisted of only two survey questions. Id. at 59-61.
                                                                                 10           In the first question, respondents were informed, “We want to know about your preferences and
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                                                                                 11 expectations for cholesterol-lowering spreads that are a substitute for regular butter or margarine.” Id.
                                                                                 12 Initial instructions told respondents, among other directions, “. . . to think back to what was important to
                                                                                 13 you the last time you purchased a cholesterol-lowering spread.” Id. The first question in the consumer
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                                                                                 14 perceptions survey shows descriptions of two cholesterol-lowering spreads and asks, “Which of these
                                                                                 15 two cholesterol-lowering spreads would you purchase? The two products are the same in every way
                                                                                 16 except for a difference on the product label..” Id.
                                                                                 17           A table of descriptions indicate that “Product A” and “Product B” are shown as “Same” on

                                                                                 18 attributes including Brand, Size, Cholesterol Lowering, Taste, Texture, Calories, and Saturated Fats. Id.
                                                                                 19 Under “Label about Trans Fats,” Product A is described as “Does not have ‘No Trans Fats’ label,” while
                                                                                 20 Product B is described as “Has ‘No Trans Fats’ label.” Id. Respondents were asked to select Product A,
                                                                                 21 Product B, or to indicate that they don’t know or are not sure. Id.
                                                                                 22           The second and final question in the consumer perceptions survey asks respondents:

                                                                                 23                  Suppose a cholesterol-lowering spread has this information on the product
                                                                                                     packaging.
                                                                                 24
                                                                                                     The front of the package says:        No Trans Fats
                                                                                 25                  The back of the product says:         No Trans Fatty Acids
                                                                                 26                  In your opinion, how much trans fat does this product have or not have?
                                                                                 27 Id. at 61. The response options for the second question includes, “Does not contain any Trans Fat,”
                                                                                 28 “Contains a small amount of Trans Fat,” and “Don’t know / Not sure.” Id.
                                                                                                                                          5
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                                                                                  1           Based on the two questions in the consumer perceptions survey, Dennis concludes that

                                                                                  2 purchasers are “almost unanimous in preferring the cholesterol-lowering spread with the ‘No Trans Fat’
                                                                                  3 label,” with only 6.4% of respondents preferring the product that does not have this claim. Id. at 29.
                                                                                  4 Dennis also concludes that 66.8% of respondents believe the labels meant the product does not contain
                                                                                  5 any trans fat, while 19.2% believe it meant the products contain a small amount of trans fat. Id. at 30.
                                                                                  6 III.      LEGAL STANDARDS

                                                                                  7           A.     Expert Witness Opinions Are Admissible Only If They Are Relevant and Reliable.

                                                                                  8           Rule 702 of the Federal Rules of Evidence permits expert opinions based on scientific, technical,

                                                                                  9 or other specialized knowledge, if the evidence will assist the fact finder, and if it is (1) based upon
                                                                                 10 “sufficient facts or data,” (2) “the product of reliable principles and methods,” and (3) “the expert has
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                                                                                 11 reliably applied the principles and methods to the facts of the case.” Fed. R. Evid. 702; see also Daubert
                                                                                 12 v. Merrell Dow Pharms., 509 U.S. 579, 589 (1993). When considering a motion “to exclude expert
                                                                                 13 testimony or reports at the class certification stage, courts apply the Daubert standard to evaluate the
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                                                                                 14 challenged evidence.” Kamakahi v. Am. Soc’y for Reprod. Med., 305 F.R.D. 164, 176 (N.D. Cal. 2015)
                                                                                 15 (citing Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982 (9th Cir. 2011)). At the class certification
                                                                                 16 stage, the district court must determine “whether the expert evidence is sufficiently probative to be
                                                                                 17 useful in evaluating whether class certification requirements have been met.” Sirko v. IBM, No. CV 13-
                                                                                 18 03192 DMG (SSx), 2014 WL 4452699, at *6 (C.D. Cal. Sep. 3, 2014).
                                                                                 19           District courts in the Ninth Circuit consistently examine expert testimony to ensure it complies

                                                                                 20 with the Daubert standard at the class certification stage. See Kamakahi, 305 F.R.D. at 176; Cholakyan
                                                                                 21 v. Mercedes-Benz USA, LLC, 281 F.R.D. 534, 541-42 (C D. Cal. 2012) (excluding expert for the
                                                                                 22 purposes of class certification and noting that “after [WalMart Stores, Inc. v.] Dukes, [564 U.S. 338
                                                                                 23 (2011)] the Ninth Circuit approved the application of Daubert to expert testimony presented in support
                                                                                 24 of or opposition to a motion for class certification”); In re AutoZone, Inc., 289 F.R.D. 526, 545 (N.D.
                                                                                 25 Cal. 2012) (striking expert testimony and survey at the class certification stage that did not comport with
                                                                                 26 Daubert standards); see also Dukes, 564 U S. at 354 (expressing doubt that Daubert standard did not
                                                                                 27 apply at the class certification stage). Expert evidence that suffers from serious methodological flaws is
                                                                                 28 unreliable and inadmissible. Obrey v. Johnson, 400 F.3d 691, 696 (9th Cir. 2005); see also Kamakahi,
                                                                                                                                          6
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                                                                                  1 305 F.R.D. at 176. The relevance prong is not a one-size-fits-all analysis, rather the court must
                                                                                  2 determine whether the evidence “fits” the particular issues of each case. Kamakahi, 305 F.R.D. at 176
                                                                                  3 (“scientific validity for one purpose is not necessarily scientific validity for other, unrelated purposes”)
                                                                                  4 (citing Daubert, 509 U.S. at 591).
                                                                                  5           B.     The Standard for Survey Reliability Under Daubert.

                                                                                  6           Surveys are admissible only if the proponent can demonstrate that it is (1) “conducted according

                                                                                  7 to accepted principles;” and (2) “is relevant.” Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand
                                                                                  8 Mgmt., Inc., 618 F.3d 1025, 1036 (9th Cir. 2010) (internal marks omitted). The admissibility of the
                                                                                  9 survey is a threshold question that must be determined by the judge through its gatekeeping function.
                                                                                 10 See Clicks Billiards, Inc. v. Sixshooters, Inc., 251 F.3d 1252, 1263 (9th Cir. 2001) (“Treatment of
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                                                                                 11 surveys is a two-step process. First, is the survey admissible? That is, is there a proper foundation for
                                                                                 12 admissibility, and is it relevant and conducted according to accepted principles? This threshold question
                                                                                 13 may be determined by the judge”) (internal citations omitted). Furthermore, substantial deficiencies in
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                                                                                 14 the design or execution of a survey are grounds for its complete exclusion. Gibson v. Cnty. of Riverside,
                                                                                 15 181 F. Supp. 2d 1057, 1067 (C D. Cal. 2002) (finding survey inadmissible based on substantial and
                                                                                 16 fundamental deficiencies, including that survey respondents were informed of the purpose of the survey
                                                                                 17 and reminded that they were the beneficiaries of the survey).
                                                                                 18           For the reasons discussed below, the Dennis Surveys do not, and cannot, satisfy these threshold

                                                                                 19 requirements, and therefore the Dennis Report and Surveys should be excluded in their entirety.
                                                                                 20 IV.       ARGUMENT

                                                                                 21           A.     The Dennis Surveys’ Results Are Irrelevant Because They Are Not Probative of the

                                                                                 22                  Claims at Issue in This Case.

                                                                                 23           It is axiomatic that for a survey to be relevant to a plaintiff’s claims it must adequately represent

                                                                                 24 opinions relevant to the litigation. See Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgmt.,
                                                                                 25 Inc., 618 F.3d at 1036 (proponent of survey must demonstrate the survey’s relevance to the claims in the
                                                                                 26 litigation); Sirko v. IBM, 2014 WL 4452699, at *6 (C.D. Cal. Sep. 3, 2014) (noting that district court
                                                                                 27 must determine whether expert evidence is sufficiently probative to be useful in evaluating plaintiff’s
                                                                                 28 class claims). Here, the results of the Dennis Surveys have absolutely no bearing on the appropriateness
                                                                                                                                          7
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                                                                                  1 of class certification because respondents were not screened, let alone determined to be—and for the
                                                                                  2 most part are not—representative of Plaintiff’s putative class of consumers who purchased Benecol from
                                                                                  3 January 1, 2008 to December 31, 2011.
                                                                                  4                  1.      The results of the Dennis Surveys are inherently unreliable because they

                                                                                  5                          include few putative class members.

                                                                                  6           Courts across the country, including California have held that for a survey to be a reliable basis

                                                                                  7 for an expert’s opinion, the population of respondents must be tailored to reflect the opinion the expert
                                                                                  8 commissioning the survey seeks to provide. Here, however, the population of respondents to Dr. Dennis’
                                                                                  9 surveys do not match the opinion he seeks to provide for class certification purposes, rendering it
                                                                                 10 irreparably flawed and requiring its exclusion. See, e.g.¸ Reinsdorf v. Skechers U.S.A., 922 F. Supp. 2d
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                                                                                 11 866, 878 (C.D. Cal. 2013), (excluding survey that was not conducted “according to accepted scientific
                                                                                 12 principles” because “there is no indication that the survey population had any relationship to the relevant
                                                                                 13 population of Sketchers consumers. . . . [t]hese inadequacies speak not merle to the weight that should
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                                                                                 14 be accorded to the survey, but rather to the fundamental reliability of Luntz’s approach.”); Scott Fetzer
                                                                                 15 Co. v. House of Vacuums Inc., 381 F.3d 477, 487 (5th Cir. 2004) (requiring that “the persons
                                                                                 16 interviewed . . . adequately represent the opinions which are relevant to the litigation” for a survey to be
                                                                                 17 valid); Citizens Financial Group, Inc. v. Citizens Nat. Bank of Evans City, 383 F.3d 110, 119-20 (3d Cir.
                                                                                 18 2004)(excluding survey for fatal flaws including because it failed to capture party’s actual customer
                                                                                 19 base; “A survey of the wrong ‘universe’ will be of little probative value in litigation” and survey
                                                                                 20 proponent “bears the burden of proving that the universe is proper.”); Mastercard Int’l Inc. v. First
                                                                                 21 Nat’l Bank of Omaha, Inc., No.02-3691, 2004 WL 326708, at *8 (S.D.N.Y. Feb. 23, 2004) (same);
                                                                                 22 Smith v. Wal-Mart Stores, Inc., 537 F. Supp. 2d 1302, 1323 (N.D. Ga. 2008) (the “[s]election of the
                                                                                 23 proper universe [of survey respondents] is one of the most important factors in assessing the validity of a
                                                                                 24 survey.”); Wells Fargo & Co. v. WhenU.com, Inc., 293 F. Supp. 2d 734, 767 (E.D. Mich. 2003) (It “is so
                                                                                 25 critical,” in fact, “that even if the proper questions are asked in a proper manner, . . . the results [of a
                                                                                 26 survey of an improper universe of respondents] are likely to be irrelevant.”).
                                                                                 27
                                                                                 28
                                                                                                                                          8
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                                                                                  1           Plaintiff purports to seek certification of a putative California class of Benecol purchasers and a

                                                                                  2 multi-state express warranty class.3 This Court, however, already ruled that Plaintiff can only pursue
                                                                                  3 claims on behalf of California purchasers. See supra, at 1-2; also Defs Opp. to Pl’s Mot. For Class
                                                                                  4 Certification at 2. In its May 2017 Order, the Court granted Defendants’ motion to deny nationwide
                                                                                  5 class certification and struck Plaintiff’s class allegations; only the California sub-class survives. Id.
                                                                                  6 Accordingly, the only consumers whose opinions are potentially relevant to Plaintiff’s claims are
                                                                                  7 California residents who purchased Benecol during the 4-year class period, January 1, 2008 to
                                                                                  8 December 31, 2011.4 Less than 10% of the respondents in the Dennis Surveys were California
                                                                                  9 residents. See Rebuttal Report of Bruce Isaacson (“Isaacson”) at ¶ 41.
                                                                                 10           It is a well-accepted scientific principle that when conducting surveys, the target population
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                                                                                 11 should consist of individuals “whose characteristics or perceptions the survey is intended to represent.”
                                                                                 12 Shari Seidman Diamond, Reference Guide on Survey Research, in Reference Manual on Scientific
                                                                                 13 Evidence (3rd ed. 2011), at 235, attached as Ex. K to the Declaration of Amanda Villalobos (“Villalobos
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                                                                                 14 Dec.”). The Dennis Surveys ignore this well-established principle and instead solicited and drew
                                                                                 15 participants from all 50 states and the District of Columbia, even though California is the only relevant
                                                                                 16 state for purposes of Plaintiff’s Motion for Class Certification. More than 90% of the surveys’
                                                                                 17 respondents were non-California residents, who do not qualify as members of the putative class. See
                                                                                 18 Isaacson at ¶ 41. The percentage of relevant responses is patently insufficient to adequately measure the
                                                                                 19 reaction of putative class members to the advertisements at issue in this case. Surprisingly, Dr. Dennis
                                                                                 20 provides no rationale for his inclusion of irrelevant responses from non-California respondents, nor does
                                                                                 21 he explain why the opinions of these foreign consumers support Plaintiff’s claims here.5
                                                                                 22
                                                                                      3 Plaintiff seeks certification of a “Multi-State Express Warranty” class comprised of consumers who
                                                                                 23   purchased Benecol in California, Delaware, District of Columbia, Kansas, Missouri, New Jersey, Ohio,
                                                                                      Utah, Virginia, and West Virginia. See Pl’s Mot. at 4.
                                                                                 24   4 As discussed in Defendants’ Opposition to Plaintiff’s Motion for Class Certification, Plaintiff can only

                                                                                 25   represent putative class members whose claims arose on or after August 14, 2011, i.e. four years before
                                                                                      she initiated this lawsuit because any claims before this date are barred by the statute of limitations. DE
                                                                                 26   Opp. to Class Certification at pp. 6-8. Thus, at best, the class period for which Plaintiff can seek
                                                                                      certification is the exceptionally narrow period between August 14, 2011 and December 31, 2011.
                                                                                 27   5 Plaintiff may argue it was appropriate to survey non-California residents because she also seeks a
                                                                                 28   multi-state express warranty class. Plaintiff, however, never before alleged a multi-state warranty class.
                                                                                      And even if she were permitted to pursue one, her argument does not salvage the surveys because over
                                                                                                                                          9
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                                                                                  1           In addition to ignoring the geographic limitations of Plaintiff’s putative class, the Dennis Surveys

                                                                                  2 also ignore the temporal restriction of the putative class. Plaintiff seeks to certify classes of consumers
                                                                                  3 who purchased Benecol from January 1, 2008 through December 31, 2011. The Dennis Surveys,
                                                                                  4 however, include respondents who purchased a cholesterol-lowering spread during the 10 years
                                                                                  5 preceding the August 2017 Surveys. No attempt was made, and no showing is made, that respondents
                                                                                  6 purchased Benecol during the putative class period, and in fact the Surveys reveal that over 45.9%
                                                                                  7 purchased a Spread for the first time during the last five years. See Isaacson at ¶ 38. As a result, nearly
                                                                                  8 half of the 1,149 surveys’ respondents did not purchase any butter or margarine substitutes (let alone
                                                                                  9 Benecol) during the class period. Instead, their purchases were made between (1) August and December
                                                                                 10 2007; and (2) January 2012 and August 2017—periods that are well outside the putative class period.
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                                                                                 11           The Dennis Surveys also fail to focus on the products at issue in this case. Indeed, the surveys’

                                                                                 12 prompts made no mention of Benecol Spreads, and thus include responses from consumers that
                                                                                 13 purchased any cholesterol-lowering spreads during periods of time that fall well outside the class period.
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                                                                                 14 Dr. Dennis did not recruit participants who purchased Benecol, and indeed never inquired what brand or
                                                                                 15 type of cholesterol-lowering spread respondents purchased. Respondents were only asked whether they
                                                                                 16 purchased a cholesterol-lowering butter or margarine substitute that consisted of a spread from vegetable
                                                                                 17 oil and came in a plastic tub. Id. at ¶ 33. The Dennis Surveys never inquire whether respondents ever
                                                                                 18 purchased Benecol. Id. at ¶ 34. The surveys’ lax definition of eligible participants means Dr. Dennis’
                                                                                 19 results could encompass purchasers of any one of over nine other butter or margarine substitute brands,
                                                                                 20 including Promise active® Light Spread, Smart Balance Buttery Spreads, Land O Lakes® Fresh Buttery
                                                                                 21 Spreads or County Crock® Original or Light Spreads. Id. Dr. Dennis attempts to overcome this fatal
                                                                                 22 flaw by asserting, without any support, that the responses of non-Benecol purchasers are relevant
                                                                                 23 because consumers of one brand category (such as Benecol) are representative of consumers of the
                                                                                 24 overall category (i.e. cholesterol-lowering spreads). Id. ¶ 36. But in reality, marketers have long
                                                                                 25 recognized that the reverse is true, i.e., a single product category can contain different consumer
                                                                                 26
                                                                                 27
                                                                                 28 77% of respondents reside in states that do not fall into either the California or the multi-state putative
                                                                                      class. See Dennis Declaration at 122-23.
                                                                                                                                         10
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                                                                                  1 segments that vary in how the products are used, the needs and preferences the products satisfy, and
                                                                                  2 consumers’ consumption patterns. Id.
                                                                                  3           The foregoing flaws in the Dennis Surveys are compounded by the fact that Dr. Dennis

                                                                                  4 inexplicably limits the surveys’ participants to consumers over the age of 50, a limitation that is absent
                                                                                  5 from the putative class definition. Id. at ¶ 39. This limitation is entirely arbitrary as it is possible that a
                                                                                  6 consumer younger than 50 could have purchased Benecol or any other cholesterol-lowering spread. This
                                                                                  7 age limitation is also contradicted by the evidence, which establishes that the primary Benecol consumer
                                                                                  8 was 55 years old or older. Id. at ¶ 40. Even if Dennis had a plausible explanation for limiting the age of
                                                                                  9 the surveys’ participants, the significant time lapse between the end of the class period and the date of
                                                                                 10 the Surveys leaves an age gap between the Surveys’ respondents and putative class members. Id. To
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                                                                                 11 illustrate, a class member who was 50 years old at the end of the class period in 2011 would correspond
                                                                                 12 to a Survey respondent who is 56 years old in 2017. Id. The Dennis Surveys indicate that 52% of
                                                                                 13 respondents were 50 to 64 years old. See id. Thus, if respondents ages were distributed equally across
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                                                                                 14 this 15-year age range, over 20% of respondents would have been younger than 50 years old in 2011,
                                                                                 15 and thus fall outside both Benecol’s primary target market and the consumers in the Dennis Surveys. Id.
                                                                                 16           The foregoing establishes that respondents who participated in the Dennis Surveys bear no

                                                                                 17 resemblance to putative class members, rendering the Surveys’ results irredeemably unreliable and
                                                                                 18 subject to exclusion. See Daubert v. Merrell Dow Pharms., 509 U.S. at 589; Kwan Software Eng’g, Inc.
                                                                                 19 v. Foray Techs., LLC, No. 12-3762, 2014 WL 572290, at *4 (N.D. Cal. Feb. 11, 2014) (“To assess the
                                                                                 20 validity and reliability of a survey, a court should consider a number of criteria, including whether: (1)
                                                                                 21 the proper universe was examined and the representative sample was drawn from the universe….”);
                                                                                 22 Reinsdorf v. Skechers U.S.A., 922 F. Supp. 2d 866, 878 (C.D. Cal. 2013), (excluding survey that was not
                                                                                 23 conducted “according to accepted scientific principles” because “there is no indication that the survey
                                                                                 24 population had any relationship to the relevant population of Sketchers consumers. . . . [t]hese
                                                                                 25 inadequacies speak not merle to the weight that should be accorded to the survey, but rather to the
                                                                                 26 fundamental reliability of Luntz’s approach.”); Chrysler Corp. v. Vanzant, 44 F. Supp. 2d 1062, 1078
                                                                                 27 (C.D. Cal. 1999) (wrong or under-inclusive universe has little, if any, probative value); Universal City
                                                                                 28
                                                                                                                                         11
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                                                                                  1 Studios, Inc. v. Nintendo Co., 746 F.2d 112, 118 (2d Cir. 1984) (“‘To be probative and meaningful . . .
                                                                                  2 surveys . . . must rely upon responses by potential consumers of the products in question.’”).6
                                                                                  3                   2.     The Surveys were conducted under unrealistic conditions that do not

                                                                                  4                          remotely resemble marketplace conditions during the proposed class period.

                                                                                  5           In addition to being primarily comprised of respondents who are not members of the putative

                                                                                  6 class, the conditions under which the Dennis Surveys were conducted fail to correlate to real-world
                                                                                  7 marketplace conditions that existed during the class period (or even exist today) and provide no useful
                                                                                  8 information regarding how the allegedly misleading label claims were reviewed and considered by
                                                                                  9 putative class members.
                                                                                 10           In assessing whether a consumer perceptions study accurately reflects the attitudes of target
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                                                                                 11 consumers, courts consider the extent to which the survey replicates the real-world setting. See, e.g.,
                                                                                 12 Instant Media, Inc. v. Microsoft Corp., 2007 WL 2318948, at *15 (N.D. Cal. Aug. 13, 2007) (“To have
                                                                                 13 substantial probative value, a survey, in addition to testing the proper universe, must also be designed to
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                                                                                 14 examine the impression presented to the consumer of the accused product.”) (internal quotations
                                                                                 15 omitted); Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 591-92 (S.D.N.Y. 2007) (“A survey
                                                                                 16 that uses a stimulus that makes no attempt to replicate how the marks are viewed by consumers in real
                                                                                 17 life may be excluded on that ground alone.”); Bracco Diagnostics, Inc. v. Amersham Health, Inc., 627 F.
                                                                                 18 Supp. 2d 384, 452-53 (D.N.J. 2009) (survey that “withheld from the respondents large amounts of other
                                                                                 19 essential visual, contextual and informational portions” had “no probative value”). This inquiry includes
                                                                                 20 an assessment of how closely the attitudes of the survey participants reflect the members of the proposed
                                                                                 21 class.        See J. Thomas McCarthy, §32:171: Tests of properly conducted survey—Examples of

                                                                                 22 methodological deficiencies, in McCarthy on Trademarks and Unfair Competition (5th ed. 2017) at 2
                                                                                 23   6 See also, e.g., Scott Fetzer Co. v. House of Vacuums Inc., 381 F.3d 477, 487 (5th Cir. 2004) (requiring
                                                                                      that “the persons interviewed . . . adequately represent the opinions which are relevant to the litigation”
                                                                                 24
                                                                                      for a survey to be valid); Mastercard Int’l Inc. v. First Nat’l Bank of Omaha, Inc., No.02-3691, 2004
                                                                                 25   WL 326708, at *8 (S.D.N.Y. Feb. 23, 2004) (same); Fed. Judicial Center, Reference Manual on
                                                                                      Scientific Evidence 364, 362 (3d ed. 2011) (discussing the importance of selecting the proper universe
                                                                                 26   of survey respondents); Smith v. Wal-Mart Stores, Inc., 537 F. Supp. 2d 1302, 1323 (N.D. Ga. 2008)
                                                                                      (the “[s]election of the proper universe [of survey respondents] is one of the most important factors in
                                                                                 27   assessing the validity of a survey.”); Wells Fargo & Co. v. WhenU.com, Inc., 293 F. Supp. 2d 734, 767
                                                                                 28   (E.D. Mich. 2003) (It “is so critical,” in fact, “that even if the proper questions are asked in a proper
                                                                                      manner, . . . the results [of a survey of an improper universe of respondents] are likely to be irrelevant.”).
                                                                                                                                         12
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                                                                                  1 (“[W]here the critical date to determine secondary meaning was some years in the past, a survey taken
                                                                                  2 today should not be ignored, but should be given whatever weight the decision-maker thinks is
                                                                                  3 appropriate”), attached as Ex. L to Villalobos Decl.
                                                                                  4           Here, the Dennis Surveys’ unrealistic and flawed research methodologies fail to accurately

                                                                                  5 replicate marketplace conditions in which putative class members viewed Benecol. First, the consumer
                                                                                  6 perceptions portion of Dennis’s Surveys asked about product attributes and combinations of statements
                                                                                  7 that never appeared on Benecol labels and do not correspond to any other Spreads sold during the class
                                                                                  8 period, e.g. references to non-GMO and Omega-3. See Isaacson, ¶ 59. These other attributes may have
                                                                                  9 been less relevant, less important, or never used on spread labels during the putative class period and the
                                                                                 10 Dennis Declaration fails to explain why these attributes were tested or how they inform consumers’
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                                                                                 11 perception of statements actually made on Benecol labels. Id. ¶ 58.
                                                                                 12           Second, in his conjoint survey, Dr. Dennis ignores the “Proven to Reduce Cholesterol” statement,

                                                                                 13 which was dominantly displayed on the Benecol labels and was the sole emphasis of McNeil’s
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                                                                                 14 marketing campaign during the class period. Id. at ¶ 61. Rather, the survey places an inordinate
                                                                                 15 emphasis on trans fat statements and package sizes while ignoring attributes and qualities that were
                                                                                 16 known to be relevant to consumers during the class period, e.g., healthy alternatives to butter, spreads
                                                                                 17 with an appealing taste and texture that offered better nutrients than butter, lower saturated fat and
                                                                                 18 sodium content, and/or fewer calories. Id. ¶ 49-66. Third, the surveys also fail to present respondents
                                                                                 19 with the option of choosing between actual spread product labels, and instead rely solely on fabricated
                                                                                 20 written tables of attributes, a presentation consumers would never encounter in the real marketplace. Id.
                                                                                 21 ¶ 74-77. The lack of a nexus between the Surveys’ conditions and the actual consumer environment
                                                                                 22 during the putative class period irreparably undermines the credibility of Surveys’ results.
                                                                                 23           Finally, the consumer climate relating to trans fats that exists today bears little resemblance to

                                                                                 24 consumer attitudes during the putative class period, which commenced nearly a decade ago. The Dennis
                                                                                 25 Surveys were conducted in August 2017, by which time awareness of and attitudes toward trans fats had
                                                                                 26 developed dramatically since the class period ended in December 2011. See id., ¶ 44. As detailed in the
                                                                                 27 Isaacson Report, the number of news articles discussing trans fats has increased every year since 2011,
                                                                                 28 with more than 116,000 published after the end of the class period; while the number of scholarly
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                                                                                  1 articles related to trans fats published since the end of the class period is well in excess of 220,000. Id.
                                                                                  2 at ¶ 47. The increasing news and other reporting about trans fats since the class period ended, which has
                                                                                  3 become markedly more negative, patently influences consumers’ attitudes and behaviors towards trans
                                                                                  4 fats over time. Id. at ¶¶ 44, 48.7 In a 2007 survey, 92% of respondents said they had heard of trans fats,
                                                                                  5 but only 21% could name the food sources for trans fats, and only 37% said they were buying products
                                                                                  6 because they contained no trans fats. Id. ¶ 53. Similarly, in a 2009 survey, 53% of U.S. respondents
                                                                                  7 said they were confused about fats, and 69% said they were getting conflicting messages about trans fats
                                                                                  8 from the government, experts, food companies, and media. Id. While it is true that consumer surveys
                                                                                  9 conducted after class members have undertaken certain market activities do not automatically disqualify
                                                                                 10 the surveys, where, as here, the evidence clearly demonstrates a material change in attitudes towards the
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                                                                                 11 variable that is purportedly being tested (i.e., trans fats), the Surveys and opinions derived therefrom
                                                                                 12 should be afforded no weight. See Tokidoki, LLC v. Fortune 10 Dynamic, Inc., No. CV 07–1923 DSF
                                                                                 13 (PJWx), 2009 WL 2366439, at * 14 (C.D. Cal. 2009) (the survey was so flawed the results were “not
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                                                                                 14 credible and deserve little or no weight”).
                                                                                 15           The 1-800 Contacts, Inc. v. Lens.com, Inc. court also excluded a survey that failed to accurately

                                                                                 16 reflect the relevant consumer population. No. 07-591, 2010 WL 5186393, at *6-*7 (D. Utah Dec. 15,
                                                                                 17 2010). While the survey questioned “individuals who had purchased contacts within the prior twelve
                                                                                 18 months or who intended to purchase contacts within the next twelve months,” the relevant universe was
                                                                                 19 “consumers who purchase contacts on the Internet.” Id. at *6. Because “the survey questions did not
                                                                                 20 limit respondents only to those who purchased contacts on the Internet,” the court concluded that the
                                                                                 21 “survey universe was improper” and excluded the survey as unreliable. Id. at *6-*7. Similarly, because
                                                                                 22 the Dennis Surveys are not representative of the putative class and fail to account for the significant
                                                                                 23 evolution of consumer perceptions towards trans fats since the end of the class period, they neither
                                                                                 24 survey putative class members in a meaningful fashion nor meet the minimum requirements of Daubert
                                                                                 25 for admissibility.
                                                                                 26
                                                                                 27 7 Dennis attempts to belittle the increased public awareness of trans fats in his Declaration by presenting
                                                                                 28 an incomplete timeline of trans fat related events ending in 2008. See Isaacson at ¶ 44. Reliance on
                                                                                      these truncated events is as unpersuasive as it is disingenuous.
                                                                                                                                         14
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                                                                                  1           B.     The Conclusions Reached by Dennis are Unreliable Because The Surveys Inflate the

                                                                                  2                  Importance of the Trans Fats Claims on Benecol Labels.

                                                                                  3           The Dennis Surveys are inadmissible because they do not reliably measure the materiality of the

                                                                                  4 trans fats statements on Benecol labels and fail to accurately calculate what premium, if any, can be
                                                                                  5 attributed to these claims.
                                                                                  6           Although the Surveys measured some spread attributes, other than the trans fats claim,

                                                                                  7 respondents were expressly instructed not to consider other important attributes that would undoubtedly
                                                                                  8 have influenced their purchasing decisions, i.e., nutritional facts, ingredients, consistency, and cooking
                                                                                  9 utility. See Isaacson at ¶ 64. Moreover, respondents were never asked to consider or rank the
                                                                                 10 importance of other spread attributes, including, in the case of Benecol, their cholesterol-lowering
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                                                                                 11 abilities and presence of plant stanol esters, which were the exclusive focus of McNeil’s marketing
                                                                                 12 efforts and Benecol’s differentiating characteristic. Id. at ¶ 65. The Dennis Surveys also fail to inquire,
                                                                                 13 let alone consider, the extent to which consumers are willing to pay extra for a no trans fats product,
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                                                                                 14 whether they favored other product attributes, such as taste or texture, over the no trans fats claims, or
                                                                                 15 any other ways in which they might change their behavior in a real world marketing situation. Id. at ¶
                                                                                 16 49.      In addition, the conjoint survey inflates the importance of the no trans fats claims by

                                                                                 17 overemphasizing the no trans fats statements and inquiring about products Defendants never sold, e.g.,
                                                                                 18 16-ounce spreads. Id. at ¶ 59. Accordingly, the strength and importance of the no trans fats claims were
                                                                                 19 never reliably assessed or measured. Id. at ¶ 65.
                                                                                 20           Courts throughout the country, and especially in the Ninth Circuit, routinely reject price-

                                                                                 21 premium models like the one presented here because they fail to capture variables or attributes that may
                                                                                 22 explain a price difference. For example, in In re Conagra Foods, Inc., 90 F. Supp. 3d 919, 1024-25
                                                                                 23 (C.D. Cal. 2015), a price premium model put forth by Weir, Plaintiff’s other expert here, was rejected by
                                                                                 24 the court because in calculating the premium he attributed to the term “100% Natural,” Weir failed to
                                                                                 25 isolate that premium from “multiple possible characteristics that consumers associate with a ‘natural’
                                                                                 26 label.” Id. at 1024. Other district courts in California have similarly rejected attempts to base damages
                                                                                 27 calculations on unreliable models that do not accurately measure the price premium attributable to a
                                                                                 28 specific characteristic. See In re POM Wonderful LLC, No. ML 10-02199 DDP (RZx), 2014 WL
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                                                                                  1 1225184 (C.D. Cal. Mar. 25, 2014) (rejecting expert’s price-premium model because he “made no
                                                                                  2 attempt, let alone an attempt based upon a sound methodology, to . . . answer the critical question [of]
                                                                                  3 why the price difference existed, or to what extent it was a result of Pom’s actions.”); In re NJOY, Inc.
                                                                                  4 Consumer Class Action Litig., 120 F. Supp. 3d 1050, 1118-19 (C.D. Cal. 2015) (concluding that
                                                                                  5 plaintiffs failed to present a damages methodology that could both “determine the price premium
                                                                                  6 attributable to NJOY’s use of the misleading advertisements and product labeling omissions” and also
                                                                                  7 satisfy Comcast); Brazil v. Dole Packaged Foods, LLC, No. 12-CV-01831-LHK, 2014 WL 5794873, at
                                                                                  8 *13 (N.D. Cal. Nov. 6, 2014) (“In the end, it is not enough for Brazil or Dr. Capps to just say that the
                                                                                  9 Regression Model controls for other factors; Brazil must show the Court that the model can. Brazil has
                                                                                 10 not done so. Thus, Brazil has not met his burden to show that the model he proposes is capable of
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                                                                                 11 controlling for all other factors and isolating the price premium attributable to Dole’s ‘All Natural Fruit’
                                                                                 12 label only.”).
                                                                                 13           Dr. Dennis’ decision to exclude from his Surveys a wide selection of variables that likely
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                                                                                 14 impacted the price consumers were willing to pay for Benecol undermines the credibility of any price-
                                                                                 15 premium opinions he and Dr. Weir draw from his Surveys. Consequently, not only are those opinions
                                                                                 16 unable to credibly establish a class-wide damages model (as Plaintiff must present to support class
                                                                                 17 certification, but Dr. Dennis’ flawed survey-based opinions should be excluded in their entirety under
                                                                                 18 Daubert and Fed. R. Evid. 702.
                                                                                 19           C.     The Dennis Surveys Suffer From Other Methodological Flaws that Are Fatal to

                                                                                 20                  Their Admissibility.

                                                                                 21           The Dennis Surveys fail to meet accepted standards for clear, precise, and unbiased questions.

                                                                                 22 See Shari Seidman Diamond, Reference Guide on Survey Research, in Reference Manual on Scientific
                                                                                 23 Evidence (3rd ed. 2011), at 248-49, attached as Ex. K to Villalobos Dec. (discussing how questions on
                                                                                 24 survey must be framed to be “clear, precise, and unbiased”); see also James Burrough Limited v. Sign of
                                                                                 25 the Beefeater, Inc., 540 F.2d 266, 279 (7th Cir. 1976) (survey results were problematic because they
                                                                                 26 were from questions that were not asked in a “specific, limited, probative context”); Hodgdon Powder
                                                                                 27 Co. v. Alliant Techsystems, Inc., 512 F. Supp. 2d 1178 (D. Kan. 2007) (confusing questions made survey
                                                                                 28 inadmissible).
                                                                                                                                         16
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                                                                                  1           The lack of clear, easily ascertainable questions is a flaw that permeates the Dennis Surveys.

                                                                                  2 From the start, even the qualifying questions are confusing, making it difficult for respondents to answer
                                                                                  3 and undermining the accuracy of their responses. See Isaacson at ¶¶ 80-83. Respondents were asked to
                                                                                  4 remember whether they purchased a “Butter or margarine substitute” in the past 10 years, instead of
                                                                                  5 during the relevant 2008-2011 class period. Id. at ¶ 79. Ten years is a very long period of time for a
                                                                                  6 survey respondent to remember when they purchased an inexpensive, every day staple, and consumers
                                                                                  7 who are not frequent purchasers of such spreads may have difficulty remembering whether their
                                                                                  8 purchase occurred within the past five years. Id. This issue was exacerbated by the fact that it is unclear
                                                                                  9 whether other qualification questions in the Surveys were also qualified by a 10-year time period, or
                                                                                 10 whether they were time period-agnostic. Id. at ¶¶ 80-81. Questions on page 45 of the Dennis
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                                                                                 11 Declaration illustrate the problem:
                                                                                 12
                                                                                                     Please tell us about some food products you have or have not purchased in
                                                                                 13                  the last 10 years.
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                                                                                 14                  Have you purchased, or not purchased, any of these food products for your
                                                                                                     personal use? Some of these are not common food products, so please
                                                                                 15                  select YES only if you are absolutely sure you purchased the product in
                                                                                                     the past, and select NO if you did not purchase the product or if you are
                                                                                 16                  not sure.
                                                                                 17
                                                                                      The initial part of this question asks about a 10-year period, but the rest of the question does not
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                                                                                      reference a time frame. The question only asks respondents “. . . if [they] are absolutely sure [they]
                                                                                 19
                                                                                      purchased the product in the past,” but does not specify whether this refers to purchases made in the past
                                                                                 20
                                                                                      10 years, or ever. Id. at ¶ 80.
                                                                                 21
                                                                                              The Dennis Surveys also contain numerous hopelessly vague questions with undefined and
                                                                                 22
                                                                                      confusing terms. For example, the conjoint survey asks respondents about “Plant Stanol Esters” and
                                                                                 23
                                                                                      “Plant Sterol Esters” without defining these terms or asking whether respondents knew what the terms
                                                                                 24
                                                                                      mean, let alone whether they understood the benefits of those ingredients. Id. at ¶ 59. The Surveys also
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                                                                                      fail to disclose what constitutes a cholesterol-lowering spread or define the terms trans fats and trans
                                                                                 26
                                                                                      fatty acids—the only representations at issue in this case. In addition, while the conjoint survey asks
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                                                                                      respondents to choose between spreads containing different percentages of vegetable oil, the survey fails
                                                                                 28
                                                                                                                                         17
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                                                                                  1 to disclose the impact, if any, of vegetable oil on the no trans fats and no trans fatty acids claims at issue.
                                                                                  2 Lastly, many of the questions in the Dennis Surveys, including the qualifying questions discussed above,
                                                                                  3 fail to set forth a relevant time period, and others ask respondents to recall purchases that took place
                                                                                  4 over the past 10 years, while failing to inquire about purchases made during the putative class period.
                                                                                  5           The questions in the Dennis Surveys are also confusing and imprecise. For this independent

                                                                                  6 reason, the Dennis Declaration, including the Surveys, should be excluded in their entirety as unreliable.
                                                                                  7 See Berk v. St. Vincent's Hospital and Medical Center, 380 F. Supp.2d 334, 354-355 (S.D.N.Y. 2005)
                                                                                  8 (exclusion of expert testimony is warranted where the expert offers no explanation for his “conclusory
                                                                                  9 opinions” and “categorical statements” “that would withstand adversarial scrutiny”); Santoro v.
                                                                                 10 Donnelly, 340 F. Supp.2d 464, 475 (S.D.N.Y. 2004) (expert testimony inadmissible for failure to explain
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                                                                                 11 “how and why [he] could have extrapolated [his] opinion from the data”); Neri v. R.J. Reynolds Tobacco
                                                                                 12 Co., No. 98-CV-371, 2000 WL 33911224, at *13 (N.D.N.Y. Sept. 28, 2000) (expert’s opinion failed to
                                                                                 13 qualify for consideration on a summary judgment motion because it would result in a juror's reliance “on
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                                                                                 14 little more than conclusory evidence”).
                                                                                 15 V.        CONCLUSION

                                                                                 16           The extensive and irredeemable deficiencies in the Dennis Surveys are fatal to the Surveys and

                                                                                 17 Dennis Declaration and both should be excluded from this case.
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                                                                                  3 DATED: October 2, 2017                              TUCKER ELLIS LLP
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                                                                                  1                                       CERTIFICATE OF SERVICE

                                                                                  2           This Certificate of Service is made in compliance with Local Rule 5.1.2 and Civ.R. 5(b). I am

                                                                                  3 employed in the County of Los Angeles, State of California. I am over the age of 18 and not a party to
                                                                                  4 the within action. My business address is 515 South Flower Street Forty-Second Floor, Los Angeles,
                                                                                  5 CA 90071-2223.
                                                                                  6           On the date indicated below, a true and correct copy of the foregoing DEFENDANTS MCNEIL

                                                                                  7 NUTRITIONALS, LLC AND JOHNSON & JOHNSON’S NOTICE OF MOTION AND
                                                                                  8 MOTION TO EXCLUDE PLAINTIFF’S SURVEYS AND EXPERT TESTIMONY OF J.
                                                                                  9 MICHAEL DENNIS, PH.D. was filed with Court and served electronically and will be available for
                                                                                 10 viewing and downloading from the Court’s CM/ECF system:
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                                                                                 11           The Notice of Electronic Case Filing automatically generated by the system and sent to all

                                                                                 12 parties entitled to service under the Federal Rules of Civil Procedure and the Local Rules of the District
                                                                                 13 of California who have consented to electronic service shall constitute service of the filed document to
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                                                                                 14 all such parties.
                                                                                 15           Executed on, October 2, 2017, at Los Angeles, CA.

                                                                                 16           I declare under penalty of perjury that I am employed in the office of a member admitted to

                                                                                 17 practice and ECF registered in this Court at whose direction the service was made and that the foregoing
                                                                                 18 is true and correct.
                                                                                 19
                                                                                 20
                                                                                 21                                                            By /s/ Ronie M. Schmelz
                                                                                                                                                  Ronie M. Schmelz
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